     Case 2:15-cv-00236-ROS Document 223-1 Filed 01/10/19 Page 1 of 2



 1 ELIZABETH A. STRANGE
 2 First Assistant United States Attorney
   District of Arizona
 3
 4 ADAM R. SMART (NC Bar No. 31797)
   KATHERINE R. BRANCH (AZ Bar No. 025128)
 5 Assistant U.S. Attorneys
   Two Renaissance Square
 6
   40 North Central Avenue, Suite 1800
 7 Phoenix, Arizona 85004
   Telephone: 602-514-7500
 8 Facsimile: 602-514-7760
 9 Email: Adam.Smart@usdoj.gov
          Katherine.Branch@usdoj.gov
10 Attorneys for the United States of America
11                      IN THE UNITED STATES DISTRICT COURT
12                          FOR THE DISTRICT OF ARIZONA
13
14   Lawrence N. Cherry and Judy G. Cherry,              CV 15-00236-PHX-GMS
     husband and wife,
15                                               INDEX OF EXHIBITS TO MOTION IN
                         Plaintiffs,                 LIMINE RE: TO PARTIALLY
16                                                  PRECLUDE EXPERT OPINION
              v.                                      TESTIMONY OF VALERIE
17                                                       LUETHGE-STERN
     United States of America; John Does and
18   Jane Does I through X,
19                       Defendants.
20
21    Ex.   Exhibit Description
22    A     Valerie A. Luethge-Stern, PA-C, Resume
23    B     Deposition of Valerie A. Luethge-Stern, PA-C Excerpts
24    C     Website Printout for Dr. Marc Mani
25    D     The New York Times Article on Arnold Klein MD

26    E     Website Printout for AWK Dermatology Inc.

27    F     Linked in Website Printout for Valerie Luethge-Stern PA-C MPAS
      G     Website Printout for Alma Lasers
28
     Case 2:15-cv-00236-ROS Document 223-1 Filed 01/10/19 Page 2 of 2




 1   H     Website Printout for Eclipse
 2   I     Website Printout of National Cancer Institute: Penile Cancer Treatment
           (PDQ)
 3
     J     2-10-17 Email
 4
     K     Website Printout of The Skin Cancer Foundation: Mohs Micrographic
 5         Surgery: An Overview
 6   L     Stanley, Medscape Article, 14 pages
 7   M     Parker, Medscape Article, 3 pages

 8   N     Micali, Medscape Article, 25 pages

 9   O     Chartier, Medscape Article, 25 pages

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                2
